                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                       AUG 27 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                       No. 23-3899
                                                D.C. No.
             Plaintiff - Appellee,              1:10-cr-00361-JLT-1
 v.
                                                MEMORANDUM*
TERRY LEE SCHNEIDER II,

             Defendant - Appellant.

                    Appeal from the United States District Court
                        for the Eastern District of California
                   Jennifer L. Thurston, District Judge, Presiding

                           Submitted August 20, 2024**

Before:      S.R. THOMAS, RAWLINSON, and COLLINS, Circuit Judges.

      Terry Lee Schneider II appeals pro se from the district court’s order denying

his renewed motion to compel production of grand jury materials. We have

jurisdiction under 28 U.S.C. § 1291, and we affirm.

      While Schneider’s appeal from the district court’s order denying his first


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
motion to compel was pending, he renewed his motion in the district court. He

again sought grand jury materials, but this time on a different basis. The

government opposed on the ground that the pending appeal deprived the district

court of jurisdiction over the motion. The district court disagreed that it lacked

jurisdiction and denied the motion on the merits.

      On appeal, Schneider’s sole claim is that the district court violated the party

presentation principle by reaching the merits of his motion when the government

only argued jurisdiction. He suggests that, because the government did not oppose

his motion on the merits, the district court was compelled to grant the motion.

Schneider misunderstands the party presentation principle. Even though the

government did not argue the merits, the district court could not grant relief

without first evaluating whether Schneider had shown that he was entitled to the

grand jury materials. See United States v. Walczak, 783 F.2d 852, 857 (9th Cir.

1986) (party seeking grand jury materials must show a particularized need that

outweighs the policy of secrecy); see also United States v. Sineneng-Smith, 590

U.S. 371, 375-76 (2020) (explaining the party presentation principle).

      To the extent Schneider challenges the district court’s decision that he failed

to show a particularized need for the grand jury materials, he has not shown any

abuse of discretion by the district court. See Walczak, 783 F.2d at 857.

      AFFIRMED.



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